Case 1:21-cv-00460-BLW Document1 Filed 11/29/21 Page 1 of 3

U.S. COURTS
Robe, 4 Lee Pidteel{ ( Sas 7S e) NOV 29 2021
Full Name/Prisoner Number 4 FHMC cece
Canyein Conky Jott Rove EN W, KENYON
OL Nard! 12" Aue, CLERK, DISTRICT OF IDAHO

Calduell 0 93005"
Complete Mailing Address

Petitioner
IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF IDAHO

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ake E,
Petitioner, CASE NO.
(Full name) (to be assigned by the Court upon filing)
VS. APPLICATION
FOR IN FORMA
PAUPERIS STATUS
Uided Cove ret

Responden

, ue sha Cates aagd
By completing this ‘application, Jam requesting in forma pauperis status rather than paying the
filing fee at the time of filing. I understand that, if ny request is granted, my fee will not be waived, but I
will be responsible to pay the fee from my prison trust account in increments, when and as I am able to
do so.
1, Are you employed? Yes No. “ . Ifemployed, please state your job title and the
total amount of wages you make per month.

$ per month
Job Title
2, Within the past twelve (12} months, have you received any money from any of the following
sources? ao
a. Business, or other form of self-employment? Yes__ No.
b, Rent payments, interest or dividends? Yes No” “7
c. Pensions, annuities, or life insurance payments: Yes ‘No ee
d. Gifts or inheritances? Yes No_*
e. Any other sources? Utena Qieanard: NVC Yes” No

(State source)

IN FORMA PAUPERIS AFFIDAVIT HABEAS (Rev. 11/02} 23

Case 1:21-cv-00460-BLW Document1 Filed 11/29/21 Page 2 of 3

If the answer to any of the above is “yes,” describe each source of money and state the amount
received from each during the past twelve (12) months.

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3. Do you,have any money, including in prison accounts or other checking or savings accounts?
Yes No.
If the answer is “yes,” state the total amount. $4 hie

4, Do you own or have any interest in any real estate, stocks, bonds, notes, automobiles or other

valuable property (excluding ordinary household furnishings and clothing)?

Yes No . Ifthe answer is “yes,” describe the property and state its
approximate value.

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5. List the persons who are dependent upon your support, state your relationship to those
persons, and indicate how much you do, or are obligated to contribute, toward their support.

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i ay
(

I declare under penalty of perjury that the foregoing is true and correct.

Executed on this A“ day of _/y 20.4).

Petitioner

Note: You do not need to send a copy of this document to Respondent. This Application must
be accompanied by a Prison Trust Account Statement. This Application takes the place of an
in forma pauperis motion and affidavit. Notarization is not necessary because the Application
is Signed under penalty of perjury.

IN FORMA PAUPERIS AEF IDAVIT HABEAS (Rev. 11/02} 24

Case 1:21-cv-00460-BLW Document1 Filed 11/29/21 Page 3 of 3

Uy Lard nr A

Prisoner Or iginal Signature

DECLARATION UNDER PENALTY OF PERJURY

The undersigned declares under penalty of perjury that he/she is the plaintiff in the above action
that he/she has read the above complaint and that the information contained in the complaint is true and
correct, 28 U.S.C. § 1746; 18 U.S.C. § 1621.

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Executed at <./)

(location) — — (date)

hdd. Cebect™

Pa isoner’s Original Signature

Prisoner Civil Rights Complaints (Rev. 11-02) 22

